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                     8                                 UNITED STATES DISTRICT COURT
                     9                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                   10
                   11       ROGER McINTOSH,                                    Case No. 107CV 01080 LJO-WMW
                   12                             Plaintiff,                   ORDER TO EXTEND DISCOVERY AND
                                                                               EXPERT DISCLOSURES
                   13       v.
                   14       NORTHERN CALIFORNIA UNIVERSAL
                            ENTERPRISES COMPANY, et al,
                   15
                                                  Defendants.
                   16
                   17
                   18                                                 ORDER
                   19                    Pursuant to the stipulation of the parties filed on December 27, 2008, non-expert
                   20      discovery is extended for 30 days until February 6, 2009 and expert disclosure is extended until
                   21      December 27, 2008.
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                   23
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                   25
                   26            IT IS SO ORDERED.
                   27         Dated:     December 31, 2008                        /s/ Gary S. Austin
                           6i0kij                                         UNITED STATES MAGISTRATE JUDGE
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DISCOVERY.mp..wpd                                               ORDER TO EXTEND DISCOVERY AND EXPERT DISCLOSURES
